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                                               Southern District of California



TWINS SPECIAL CO., LTD.,

                                                                                  3:23-cv-00223-JO-DDL
TWINS SPECIAL, LLC, et al.,                                                      [Consolidated with Case No.
                                                                                 3:21-cv-00221-JO-DDL]




       Plaintiff in consolidated case number 21-cv-00221, SIMON POULIOT, an individual


       March 28, 2024                                                 /s/ James H. Millane


                                                                    James H Millane 187951




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